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8                                 UNITED STATES DISTRICT COURT
9                                          DISTRICT OF NEVADA
10                                                    ***
11    JOHN AND MELISSA FRITZ,                               Case No.: 3:20-CV-00681-RJC-WGC
12                           Plaintiffs,                    ORDER FOR EXTENSION OF
      vs.                                                   TIME TO FILE OPPOSITION TO
13                                                          MOTION FOR SANCTIONS [ECF.
      WASHOE COUNTY, a political subdivision of             NO. 38] AND MOTION FOR
14    the State of Nevada; and DOES 1 through 10            ATTORNEY’S FEES AND
      inclusive;                                            SANCTIONS [ECF. NO. 39] –
15                                                          FIRST REQUEST
                             Defendants.
16

17    _____________________________________/
18
            COME NOW, JOHN AND MELISSA FRITZ, a married couple (“the Fritzes” or
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     “Plaintiffs”), and WASHOE COUNTY, by and through their undersigned attorneys of record,
20
     and hereby stipulate and agree that Plaintiffs shall have an extension of time from September 29,
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     2021, to October 13, 2021, in which to file oppositions to Motion for Sanctions [ECF NO. 38]
22
     and Motion for Attorney’s Fees and Sanctions [ECF NO. 39].
23
            The parties are seeking this extension due to ongoing settlement discussions and likely
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     resolution of this matter.
25
            This is the first request for extension of time to file the oppositions. The parties hereby
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     stipulate and agree that this request is not made for any improper purpose or for purposes of delay
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     and that no party shall be prejudiced by same.
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1                      Dated: Thursday, September 23, 2021

2                                                 By:_/s/_Luke Busby, Esq._________
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6
                                                  By:__/s/ Michael W. Large, Esq.____
7
                                                      MICHAEL W. LARGE
8                                                     Deputy District Attorney
                                                      One South Sierra Street
9                                                     Reno, NV 89501
                                                      mlarge@da.washoecounty.us
10                                                    (775) 337-5700
                                                      ATTORNEY FOR WASHOE COUNTY
11

12

13                                         ORDER

14         IT IS SO ORDERED.

15         DATED: September 24, 2021.
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17                                         _____________________________________
                                             UNITED STATES DISTRICT JUDGE
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